UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
SHINANO KENSHI CORP., et al.,                                  :
                                                               :
                                             Plaintiffs,       :   22 Civ. 3704 (LGS)
                                                               :
                           -against-                           :         ORDER
                                                               :
HONEYWELL INTERNATIONAL, INC.,                                 :
                                                               :
                                             Defendant. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on November 10, 2022, the parties filed a joint letter requesting an extension

of discovery deadlines. An Order issued November 14, 2022, granted the parties’ request. That

Order directed the parties to file a joint letter regarding any discovery dispute requiring judicial

resolution by December 9, 2022. It further requires the parties to submit the names of any

deponents and a date for their depositions agreeable to counsel and the witness.

        WHEREAS, on December 9, 2022, the parties filed the required letter. It is hereby

        ORDERED that the Case Management Plan and Scheduling Order is amended. The

following depositions shall be taken on the following dates:

        Sawato Aizeki – February 7, 2023

        Mayumi Dabbay – February 9, 2023

        Nick Lauro – February 10, 2023

        Anil Kumar – February 14, 2023

        Alex Grigorow – February 16, 2023

        Tex Moseri – February 17, 2023

        Alban Gousett – February 20, 2023

        Michael Benson – March 3, 2023
       Plaintiff Shinano Kenshi Corp.’s Rule 30(b)(6) witness – March 14, 2023

       Plaintiff Shinano Kenshi Co., Ltd.’s Rule 30(b)(6) witness – March 15, 2023

       Defendant’s Rule 30(b)(6) witness – March 17, 2023

Notwithstanding the parties’ statement regarding the reservation of rights to amend or modify

these dates, these deposition dates may not be changed without judicial approval. An Amended

Case Management Plan and Scheduling Order will issue separately. It is further

        ORDERED that in the status letter due December 14, 2022, the parties shall state a firm

date for the deposition of Maria Adriana Vazquez, agreeable to counsel for both parties and the

witness, for incorporation into the case management plan. It is further

        ORDERED that Defendant shall produce documents related to the categories of

information specified in Section II(b) of the parties’ letter, for the reasons stated in Plaintiffs’

portion of that Section. The parties shall meet and confer in good faith to narrow the scope of the

request to minimize any burden on Defendant that is disproportionate to the relevance of the

information, provided that the parties shall confer in light of the Court’s holding that the three

categories of information listed are relevant to Plaintiffs’ claims. It is further

        ORDERED that Plaintiff’s request for a conference is DENIED as moot. To the extent

the parties have further disputes in need of judicial resolution relating to document production,

they shall file a joint letter on ECF promptly and with sufficient time to meet existing discovery

deadlines.

Dated: December 12, 2022
       New York, New York
